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 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)                                                                            CLEAR FORM
 OR OF PARTY APPEARING IN PRO PER




 ATTORNEY(S) FOR:

                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
                                                                               CASE NUMBER:

                                                                                                      8:21-cv-01787
                                                              Plaintiff(s),
                                     v.

                                                                                              CERTIFICATION AND NOTICE
                                                                                                OF INTERESTED PARTIES
                                                             Defendant(s)                           (Local Rule 7.1-1)

TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for              Defendant A-List Marketing Solutions, Inc. dba Palisade Protection Group

or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                               PARTY                                                    CONNECTION / INTEREST
Eli Reisman
A-List Marketing Solutions, Inc. dba Palisade Protection                      Plaintiff
Group                                                                         Defendant
Homeassurance, Inc.                                                           Defendant




         12/07/2021                                        /s/ Georgiana A. Nikias
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):
                                                           A-List Marketing Solutions, Inc. dba Palisade Protection Group




CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
